      Case 1:20-cv-03010-APM            Document 1286         Filed 05/09/25       Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                         Plaintiffs,                        Case No. 1:20-cv-03010-APM

         v.                                                 HON. AMIT P. MEHTA

 GOOGLE, LLC,

                         Defendant.


 STATE OF COLORADO, et al.,

                         Plaintiffs,                        Case No. 1:20-cv-03715-APM

         v.                                                 HON. AMIT P. MEHTA

 GOOGLE, LLC,

                         Defendant.



                     MOTION OF THE FEDERAL TRADE COMMISSION
                         TO FILE A BRIEF AS AMICUS CURIAE

       The Federal Trade Commission (“FTC”) respectfully moves to file an amicus brief in this

case in support of Plaintiffs’ Revised Proposed Final Judgment. Under Local Civil Rule 7(o)(1),

the FTC is not required to obtain the consent of the parties or leave of Court to file an amicus

brief. The filing of this brief is timely, and the brief complies with the 20-page limit set out in the

Court’s amended scheduling order (ECF 1201). Although this motion is not required, it is being

filed to ensure that the Clerk’s Office may enter the amicus brief on the docket by the deadline in

the amended scheduling order. In addition, although a motion should not be required per this

Court’s Local Rules, a proposed order is attached in accordance with Local Civil Rule 7(c).

                                                   1
     Case 1:20-cv-03010-APM     Document 1286    Filed 05/09/25   Page 2 of 3




                                    Respectfully submitted,



                                    /s/ Anupama Sawkar

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DATED: May 9, 2025




                                       2
      Case 1:20-cv-03010-APM           Document 1286         Filed 05/09/25      Page 3 of 3




                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 9, 2025, I electronically filed a true and correct copy of the
foregoing MOTION OF THE FEDERAL TRADE COMMISSION TO FILE A BRIEF AS
AMICUS CURIAE with the Clerk via the CM/ECF system which will send
notification of such filing and service upon all counsel of record.


                                              /s/ Anupama Sawkar
                                              Anupama Sawkar

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